         Case 6:20-cr-00470-MC         Document 26        Filed 10/02/20     Page 1 of 3




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                      EUGENE DIVISION


UNITED STATES OF AMERICA                             6:20-cr-470-MC

               v.
                                                      INFORMATION
ROGELIO RUBIO,
                                                     21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vii),
               Defendant.                            and 846

                                                     Forfeiture Allegation



                     THE UNITED STATES ATTORNEY CHARGES:

                                        COUNT 1
                (Conspiracy to Possess with Intent to Distribute Marijuana)
                       (21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vii), and 846)

       From on or about 2016 to July 17, 2019, in the District of Oregon, defendant ROGELIO

RUBIO did knowingly combine, conspire, and confederate with others to possess with intent to

distribute marijuana and possess with the intent to distribute 100 or more kilograms of

marijuana, a Schedule I controlled substance;

       In violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(B)(vii), and 846.

///

///


Information                                                                                    Page 1
                                                                                      Revised April 2018
          Case 6:20-cr-00470-MC          Document 26        Filed 10/02/20    Page 2 of 3




                                            COUNT 2
                                       (Money Laundering)
                                        (18 U.S.C. § 1957)

       On or about August 2, 2017, in the District of Oregon, defendant ROGELIO RUBIO

did knowingly engage and attempt to engage in a monetary transaction by, through, and to a

financial institution, in and affecting interstate commerce, in criminally derived property of a

value greater than $10,000, that is, defendant paid $67,200 cash to a Certified Public Accounting

firm to purchase a cashier’s check in the amount of $64,000 that he then deposited into a Bank of

the Cascades checking account ending in 1399 in the name of Fleur De Lis Properties LLC, an

account established by defendant’s wife, Taryn White. Defendant then instructed White to write

a check on the same account in the amount of $64,000 to make a payment towards the purchase

of a residential property that was being used by defendant as a marijuana grow site, such

currency having been derived from a specific unlawful activity, that is the unlawful manufacture

and distribution of a controlled substance.

       In violation of Title 18, United States Code, Section 1957.

                                 FORFEITURE ALLEGATION

       Upon conviction of the offense in Counts 1 and 2, defendant ROGELIO RUBIO shall

forfeit to the United States, pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 981(a)(1)(A) and (C),

any property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of

the aforesaid violation and any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of said violation and any property, real or personal,

involved in such offense, and any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:


Information                                                                                   Page 2
         Case 6:20-cr-00470-MC          Document 26       Filed 10/02/20       Page 3 of 3




              $28,345.00 of U.S. Currency, assorted pieces of jewelry, and 1 Rolex watch

               seized on May 7, 2018;

              Gold Audemars Piguet watch, gold Rolex watch with gold colored face, gold

               colored Rolex watch with white face, gold color chain necklace, $4,598.00 in U.S.

               Currency, Apple watch with gold band seized on July 17, 2019;

              Howa model 1500 rifle and ammunition seized on July 17, 2019; and

              real property commonly known as 4055 NW 21st Street, Redmond, Oregon.

       If any of the property described above, as a result of any act or omission of the defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(1) and Title 28, United States Code, Section 2461(c).

Dated: October 2, 2020

                                                      Respectfully submitted,

                                                      BILLY J. WILLIAMS
                                                      United States Attorney

                                                      /s/ Joseph H. Huynh__________
                                                      JOSEPH H. HUYNH
                                                      Assistant United States Attorney

Information                                                                                  Page 3
